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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF FLORIDA
                                            Tallahassee Division


              JANE DOE, individually and on behalf
              of her minor daughter, SUSAN DOE,
              et al.,
                                                                Case No. 4:23-cv-00114-RH-MAF
                                        Plaintiffs,
                                v.

              JOSEPH A. LADAPO, M.D., in his
              official capacity as Florida’s Surgeon
              General of the Florida Department of
              Health, et al.,

                                        Defendants.


                         DECLARATION OF LUCIEN HAMEL IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                     I, Lucien Hamel, hereby declare and state as follows:

                     1.       I am over the age of 18, of sound mind, and in all respects competent

             to testify. I have personal knowledge of the information contained in this Declaration

             and would testify completely to those facts if called to do so.

                     2.       I am 27 years old, and I am a plaintiff in this Action.

                     3.       I am a Florida resident. I live in Indian River County with my wife and

             my child. I am a manager at a CVS store and I work full time to provide for my son.

                     4.       I am a man and I am also transgender. Although I was incorrectly

             assigned the sex female at birth, my gender identity is male. I experience and have


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             been diagnosed with gender dysphoria due to the significant distress caused by the

             disconnect between my sex assigned at birth, along with some of my primary and

             secondary sex characteristics, and my gender identity.

                     5.      I have known that I was male since I was six years old. I did not have

             the words to describe my experience for many years, and once I did, it didn’t feel

             safe to explore that aspect of my identity given the hostility towards transgender

             people in our country. Though I always wore male clothing, four years ago I finally

             began receiving transition-related medical care.

                     6.       I initiated my transition with a pediatric endocrinologist, who I was

             referred to by my psychiatrist at the time. My psychiatrist diagnosed me with gender

             dysphoria, and wrote a letter regarding my readiness to initiate testosterone hormone

             treatment. I met with the pediatric endocrinologist three or four times before being

             prescribed any medication. He was very thorough and careful, and eventually started

             me on a very low dose of testosterone, and we did a lot of monitoring and follow up

             and labs, adjusting the dose slowly to ensure I was doing well.

                     7.      Because I was an adult, the pediatric endocrinologist had to refer me to

             an adult provider to continue my transition-related care, as his practice would not

             allow him to continue treating adult patients. I was referred to a nurse practitioner

             who is licensed as an Autonomous Practice Nurse Practitioner at Spektrum Health

             who has substantial expertise and experience in the treatment of gender dysphoria. I



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             have received both my primary care and my gender-affirming care from Spektrum

             Health since that time.

                     8.      I have had a tremendously positive experience with hormone therapy.

             Being able to obtain testosterone injections has allowed me to bring my body into

             alignment with who I know myself to be. Last year, I had top surgery. Receiving

             medically necessary testosterone therapy and top surgery has provided me

             desperately needed relief and comfort in my own skin.

                     9.      Because of SB 254, I am currently unable to get the hormone therapy

             that I need. I took my last testosterone shot on June 28th, and I have been without

             medication since that time. I have asked my NP at Spektrum Health if he could send

             in a refill and he said he cannot do so without breaking the law. I asked my former

             pediatric endocrinologist if he could prescribe my testosterone, and he said that he

             cannot, as his practice will not permit him to treat adults. I have sought out other

             M.D.s and D.O.’s in the state, but I have not been able to get an appointment to see

             any to continue my medically necessary treatment.

                     10.     I have reached out to out of state providers, but receiving care from

             them would require me to travel out of state, and I cannot afford to do so. I am the

             parent of a seven-year-old child and I work full time. It was already a hardship to

             travel to Melbourne every few months to Spektrum Health for the required




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             monitoring and lab work associated with my hormone treatment. Traveling out of

             state is not an option for me.

                     11.     I would love to move out of the hostile state of Florida to a state where

             I could receive the medical care that I need. I cannot do this, however, because it

             would uproot and disrupt my son’s entire life – his other parent lives in Florida, as

             do his grandparents and his friends, and he loves his school here. Further, it would

             require my son’s other parent to either move to the new state with us, or I would

             have to give up my custody rights over my child, which I could never do. Ultimately,

             neither myself nor my son’s other parent have the means or resources to move to a

             new state. Thus, we are stuck in a state where I cannot obtain essential medical care.

                     12.     Being forced to go without testosterone has had, and will continue to

             have,      devastating         consequences   for   me   physically,   emotionally,   and

             psychologically. Because of being unable to obtain care, I experience debilitating

             fear, anxiety, self-loathing, and despair.

                     13.     SB 254 prevents me from getting care that I need. Even if I can get an

             appointment with an M.D. or a D.O. in Florida – which I have not yet been able to

             do – I will be unable to continue seeing the medical provider at Spektrum Health

             whom I trust and with whom I have developed a good relationship.

                     14.     The barriers to accessing care that were created by SB 254, and the

             Boards’ Emergency Rules and Informed Consent forms stemming from SB 254,



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             have created an all-out bar to accessing care for myself and for so many others. My

             chosen, trusted medical provider cannot prescribe my testosterone without being

             criminalized, there is not an M.D. or D.O. who can prescribe my testosterone, and I

             cannot afford to travel out of state to obtain my testosterone. Thus, I am trapped in

             a state that is denying me access to critical medical care that I need to live and thrive.

                     I declare under penalty of perjury that the foregoing is true and correct. 

             Executed this 24th day of July, 2023.                                 

                                                             Respectfully Submitted,

                                                             ________________________

                                                             Lucien Hamel




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